Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 1 of 92 Page ID
                                  #:1663
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 2 of 92 Page ID
                                  #:1664
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 3 of 92 Page ID
                                  #:1665
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 4 of 92 Page ID
                                  #:1666
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 5 of 92 Page ID
                                  #:1667
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 6 of 92 Page ID
                                  #:1668
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 7 of 92 Page ID
                                  #:1669
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 8 of 92 Page ID
                                  #:1670
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 9 of 92 Page ID
                                  #:1671
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 10 of 92 Page ID
                                  #:1672
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 11 of 92 Page ID
                                  #:1673
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 12 of 92 Page ID
                                  #:1674
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 13 of 92 Page ID
                                  #:1675
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 14 of 92 Page ID
                                  #:1676
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 15 of 92 Page ID
                                  #:1677
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 16 of 92 Page ID
                                  #:1678
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 17 of 92 Page ID
                                  #:1679
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 18 of 92 Page ID
                                  #:1680
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 19 of 92 Page ID
                                  #:1681
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 20 of 92 Page ID
                                  #:1682
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 21 of 92 Page ID
                                  #:1683
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 22 of 92 Page ID
                                  #:1684
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 23 of 92 Page ID
                                  #:1685
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 24 of 92 Page ID
                                  #:1686
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 25 of 92 Page ID
                                  #:1687
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 26 of 92 Page ID
                                  #:1688
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 27 of 92 Page ID
                                  #:1689
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 28 of 92 Page ID
                                  #:1690
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 29 of 92 Page ID
                                  #:1691
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 30 of 92 Page ID
                                  #:1692
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 31 of 92 Page ID
                                  #:1693
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 32 of 92 Page ID
                                  #:1694
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 33 of 92 Page ID
                                  #:1695
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 34 of 92 Page ID
                                  #:1696
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 35 of 92 Page ID
                                  #:1697
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 36 of 92 Page ID
                                  #:1698
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 37 of 92 Page ID
                                  #:1699
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 38 of 92 Page ID
                                  #:1700
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 39 of 92 Page ID
                                  #:1701
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 40 of 92 Page ID
                                  #:1702
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 41 of 92 Page ID
                                  #:1703
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 42 of 92 Page ID
                                  #:1704
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 43 of 92 Page ID
                                  #:1705
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 44 of 92 Page ID
                                  #:1706
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 45 of 92 Page ID
                                  #:1707
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 46 of 92 Page ID
                                  #:1708
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 47 of 92 Page ID
                                  #:1709
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 48 of 92 Page ID
                                  #:1710
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 49 of 92 Page ID
                                  #:1711
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 50 of 92 Page ID
                                  #:1712
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 51 of 92 Page ID
                                  #:1713
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 52 of 92 Page ID
                                  #:1714
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 53 of 92 Page ID
                                  #:1715
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 54 of 92 Page ID
                                  #:1716
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 55 of 92 Page ID
                                  #:1717
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 56 of 92 Page ID
                                  #:1718
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 57 of 92 Page ID
                                  #:1719
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 58 of 92 Page ID
                                  #:1720
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 59 of 92 Page ID
                                  #:1721
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 60 of 92 Page ID
                                  #:1722
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 61 of 92 Page ID
                                  #:1723
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 62 of 92 Page ID
                                  #:1724
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 63 of 92 Page ID
                                  #:1725
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 64 of 92 Page ID
                                  #:1726
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 65 of 92 Page ID
                                  #:1727
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 66 of 92 Page ID
                                  #:1728
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 67 of 92 Page ID
                                  #:1729
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 68 of 92 Page ID
                                  #:1730
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 69 of 92 Page ID
                                  #:1731
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 70 of 92 Page ID
                                  #:1732
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 71 of 92 Page ID
                                  #:1733
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 72 of 92 Page ID
                                  #:1734
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 73 of 92 Page ID
                                  #:1735
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 74 of 92 Page ID
                                  #:1736
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 75 of 92 Page ID
                                  #:1737
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 76 of 92 Page ID
                                  #:1738
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 77 of 92 Page ID
                                  #:1739
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 78 of 92 Page ID
                                  #:1740
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 79 of 92 Page ID
                                  #:1741
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 80 of 92 Page ID
                                  #:1742
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 81 of 92 Page ID
                                  #:1743
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 82 of 92 Page ID
                                  #:1744
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 83 of 92 Page ID
                                  #:1745
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 84 of 92 Page ID
                                  #:1746
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 85 of 92 Page ID
                                  #:1747
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 86 of 92 Page ID
                                  #:1748
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 87 of 92 Page ID
                                  #:1749
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 88 of 92 Page ID
                                  #:1750
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 89 of 92 Page ID
                                  #:1751
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 90 of 92 Page ID
                                  #:1752
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 91 of 92 Page ID
                                  #:1753
Case 2:04-cv-09049-DOC-RNB Document 1117-4 Filed 11/15/07 Page 92 of 92 Page ID
                                  #:1754
